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 4
 5   Attorney for Defendant
     JENNIFER JESS
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 7
                                IN THE UNITED STATES DISTRICT COURT
 8
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA                          No. 2:10-CR-00141
11
12                       Plaintiff,                    STIPULATION AND ORDER
13             vs.                                     DATE: August 5, 2010
14                                                     TIME: 9:00 a.m.
     JENNIFER JESS                                     JUDGE: Hon. Morrison England
15   THERESA CONSTANCIO
16
17                       Defendant
18
               It is hereby stipulated and agreed to between the United States of America through
19
20   Samantha Spangler, Assistant U.S. Attorney, and the defendants, JENNIFER JESS and

21   THERESA CONSTANCIO by and through their counsel, PREETI K. BAJWA, Attorney at Law,
22
     and KELLY BABINEAU, Attorney at Law, respectively that the status conference set for
23
     Thursday August 5, 2010 be continued to Thursday September 2, 2010 at 9:00 a.m.
24
25             The reason for this continuance is to allow defense counsel additional time to review
26
     discovery with the defendant, to examine possible defenses and to continue investigating the
27
     facts of the case.
28


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 1             Accordingly, the parties believe that the continuance should be excluded from the
 2
     calculation of time under the Speedy Trial Act. The additional time is necessary to ensure
 3
     effective preparation, taking into account the exercise of due diligence. 18 U.S.C. §
 4
 5   3161(h)(7)(B)(iv); Local Code T4. The interests of justice served by granting this continuance
 6   outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C. §
 7
     3161(h)(7)(A).
 8
 9
     DATED: August 2, 2010
10
                                                  Respectfully submitted,
11
12                                                _/s/ Preeti Bajwa_________________
                                                  PREETI K. BAJWA
13                                                Attorney for Defendant
14                                                JENNIFER JESS

15   DATED: August 2, 2010
16                                                Respectfully submitted,
17
                                                  _/s/ Kelly Babineau
18                                                KELLY BABINEAU
19                                                Attorney for Defendant
                                                  THERESA CONSTANCIO
20
21
     DATED: August 2, 2010                        BENJAMIN WAGNER
22                                                United States Attorney
23
                                                  _/s/ Samantha Spangler___________
24                                                SAMANTHA SPANGLER
25                                                Assistant U.S. Attorney
                                                  Attorney for Plaintiff
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 1
                                              ORDER
 2
 3             IT IS SO ORDERED. Time is excluded from today’s date through and including
 4
     September 2, 2010 in the interests of justice pursuant to 18 U.S.C. section
 5
     3161(h)(7)(B)(iv) [reasonable time to prepare] and Local Code T4.
 6
 7   DATED: August 3, 2010
 8                                         __________________________________
 9                                         MORRISON C. ENGLAND, JR
                                           UNITED STATES DISTRICT JUDGE
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